      Case 1:20-cv-00129-GNS Document 1 Filed 07/29/20 Page 1 of 7 PageID #: 1




                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF KENTUCKY
                               AT BOWLING GREEN

                               (FILED ELECTRONICALLY)


                   1:20-cv-129-GNS
CIVIL ACTION NO. ________________________

UNITED STATES OF AMERICA                                              PLAINTIFF


vs.


WALLACE F. LYNN                                                    DEFENDANTS
1876 Kate Miller Road
Mount Herman, KY 42157-8017

EMA JEAN LYNN a/k/a EMMA JEAN LYNN
a/k/a EMA JEAN MCCORMICK and
EMMA L. VINSON
41 Maranatha Road
Tompkinsville, KY 42167-8469

ANY UNKNOWN SPOUSE OF WALLACE F. LYNN
Serve: Warning Order Attorney

ANY UNKNOWN SPOUSE OF EMA J. LYNN
a/k/a EMMA JEAN LYNN a/k/a EMA JEAN MCCORMICK
and EMMA L. VINSON
Serve: Warning Order Attorney

LEGAL RECOVERIES, INC.
Serve: C. F. Haunz, Registered Agent
8512 Brookside East
Pewee Valley, KY 40056
And
Serve: Agent Authorized to Accept Service
13019 Wellington Way
Goshen, KY 40026-8440
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MIDLAND FUNDING LLC
Serve: Fenton & McGarvey Law Firm, PSC
Attorney for Judgment Creditor
2401 Stanley Gault Parkway
Louisville, KY 40223
And
Registered Agent
C/O Canon Business Process Services
312 South 4th Street
Suite 724
Louisville, KY 40202


                             COMPLAINT FOR FORECLOSURE

       Plaintiff, the United States of America, states as follows:

       1.      This is an in rem mortgage foreclosure action brought by the United States of

America on behalf of its agency, the United States Department of Agriculture Rural Housing

Service also known as Rural Development and formerly known as the Farmers Home

Administration (hereinafter collectively “RHS”).

       2.      Jurisdiction arises under 28 U.S.C. § 1345. Venue is proper in this judicial

division, where the subject property is located.

       3.      RHS is the holder of a promissory note (“the First Note”) executed for value on

August 15, 1977 by Ted L. Frazier and Catherine A. Frazier (not defendants herein). The

principal amount of this Note was $21,200.00, bearing interest at the rate of 8 percent per annum,

and payable in monthly installments as specified in the Note. A copy of the First Note is

attached as Exhibit A and incorporated by reference as if set forth fully herein.

       4.      Contemporaneously with the execution of the First Note and to secure its

payment, the Fraziers signed and delivered to RHS a Real Estate Mortgage (the “First

Mortgage”) recorded on August 15, 1977, in Mortgage Book 33, Page 90, in the Office of the

Clerk of Monroe County, Kentucky. Through the First Mortgage, the Fraziers granted RHS a

                                                   2
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first mortgage lien against the real property including all improvements, fixtures and

appurtenances thereto at 148 Pine Street, Tompkinsville, Monroe County, Kentucky (the

“Property”). A copy of the First Mortgage is attached as Exhibit B and incorporated by

reference as if set forth fully herein.

        5.      The Property is described more particularly as:

        Lot #7, of the Carter Hill Sub-division, a plate or which is of record, in
        Deed Book 46, Pages 43, records of the Monroe County Court Clerk's
        Office, located in the City of Tompkinsville, Kentucky;

        Beginning at a stone on Oak Street S 25° 17' 57" E 82 feet to a stone
        corner on Oak Street; thence N 66° 57' 33" E 145 feet to a stone corner;
        thence S 25° 17' 57'' W 102.34 feet to a stone corner on Oak Street;
        thence S 74° 30' O" W 147.22 feet to the beginning.

        Being the same property conveyed to Wallace Franklin Lynn and Ema
        Jean Lynn, husband and wife, by deed dated November 8, 1994, of record
        in Deed Book 78, at Page l01, in the Office of the Monroe County Clerk.

        6.      On or about November 8, 1994, Defendants Wallace F. Lynn and his wife Ema

Jean Lynn also known as Emma Jean Lynn, Ema Jean McCormick and Emma L. Vinson

(hereinafter together “the Lynns”), signed and delivered to RHS an Assumption Agreement, a

copy of which is attached as Exhibit C incorporated by reference as if set forth fully herein. In

and by the Assumption Agreement, the Lynns became liable to RHS under the First Note and

First Mortgage.

        7.      On November 8, 1994, the Lynns, for value, signed and delivered to RHS a

Second Promissory Note (the “Second Note”) in the principal amount of $35,480.00, bearing

interest at the rate of 8 percent per annum, and requiring monthly payments. A copy of the

Second Note is attached as Exhibit D and incorporated by reference as if set forth fully herein.

        8.      Contemporaneously with the execution of the Second Note and Assumption

Agreement and to secure their payment, the Lynns signed and delivered to RHS a Second Real

                                                  3
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Estate Mortgage (the “Second Mortgage”) which was recorded on November 9, 1994, in

Mortgage Book 62, Page 421, in the Office of the Clerk of Monroe County, Kentucky. In and by

the Second Mortgage, the Lynns granted a mortgage lien to RHS against the Property. A copy of

the Second Mortgage is attached as Exhibit E and incorporated by reference as if set forth fully

herein.

          9.    To further secure the Second Note and Assumption Agreement, the Lynns signed

and delivered to RHS a Subsidy Repayment Agreement acknowledging the right of RHS to

recapture, upon transfer of title or non-occupancy of the Property, any interest credits granted to

them by RHS. A copy of the Subsidy Repayment Agreement is attached as Exhibit F and

incorporated by reference as if set forth fully herein.

          10.   The Lynns have defaulted on the Notes and Mortgages by failing to make

payments when due.

          11.   RHS has, in accordance with the loan documents, accelerated the loan and

declared the entire principal balance, together with all accrued and unpaid interest and all other

sums due under the loan documents, to be due and payable. Further, RHS sent notice to the

Defendants of the default, acceleration of the loan, intent to proceed with foreclosure, and

opportunity for administrative review.

          12.   In accordance with the loan documents, the United States is entitled to enforce the

First and Second Mortgages through this foreclosure action and to have the Property sold to pay

all amounts due, together with the costs and expenses of this action.

          13.   Under the loan documents, RHS is owed the principal amount of $29,537.44, plus

$8,357.88 in accrued interest as of March 17, 2020, and $47,325.12 for reimbursement of interest

credits and fees assessed of $19,641.70, for a total unpaid balance due of $104,862.14 as of

March 17, 2020, with interest accruing at the daily rate of $10.353 from March 17, 2020, until
                                                  4
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the date of entry of judgment, and plus interest thereafter according to law, plus any additional

costs, disbursements and expenses advanced by the United States.

       14.     The Property is indivisible and cannot be divided without materially impairing its

value and the value of RHS's lien thereon.

       15.      Defendant Any Unknown Spouse of Wallace F. Lynn may claim an interest in

the Property, which interest is inferior in rank and subordinate in priority to the first mortgage

lien on the Property in favor of the Plaintiff. Said Defendant is called upon to come forth and

assert an interest in or claim to the Property, and offer proof thereof, or be forever barred.

       16.     Defendant Any Unknown Spouse of Ema J. Lynn may claim an interest in the

Property, which interest is inferior in rank and subordinate in priority to the first mortgage lien

on the Property in favor of the Plaintiff. Said Defendant is called upon to come forth and assert

an interest in or claim to the Property, and offer proof thereof, or be forever barred.

       17.     Defendant Legal Recoveries, Inc. may claim an interest in the Property by virtue

of a Notice of Judgment Lien against Wallace F. Lynn, recorded on October 22, 2004 in Lis

Pendens Book 10, Page 208 in the Monroe County Clerk's Office, a copy of which is attached as

Exhibit G. The interest of this Defendant is inferior in rank and subordinate in priority to the

first mortgage lien on the Property in favor of RHS, and the Plaintiff calls upon this Defendant to

come forth and assert its interest in or claim upon the Property, if any, and offer proof thereof, or

be forever barred.

       18.     Defendant Legal Recoveries, Inc. may claim an interest in the Property by virtue

of a Notice of Judgment Lien against Wallace F. Lynn, recorded on September 14, 2005 in Lis

Pendens Book 10, Page 724 in the Monroe County Clerk's Office, a copy of which is attached as

Exhibit H. The interest of this Defendant is inferior in rank and subordinate in priority to the

first mortgage lien on the Property in favor of RHS, and the Plaintiff calls upon this Defendant to
                                                  5
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come forth and assert its interest in or claim upon the Property, if any, and offer proof thereof, or

be forever barred.

       19.       Defendant Midland Funding LLC may claim an interest in the Property by

virtue of a Notice of Judgment Lien against Ema Lynn, recorded on April 27, 2016 in Lis

Pendens Book 17, Page 782 in the Monroe County Clerk's Office, a copy of which is attached as

Exhibit I. The interest of this Defendant is inferior in rank and subordinate in priority to the first

mortgage lien on the Property in favor of RHS, and the Plaintiff calls upon this Defendant to

come forth and assert its interest in or claim upon the Property, if any, and offer proof thereof, or

be forever barred.

       20.       There are no other persons or entities purporting to have an interest in the

Property known to the Plaintiff.

       WHEREFORE, Plaintiff, the United States of America, on behalf of RHS, demands:

       a.        Judgment in rem against the interests of the Lynns in the Property in the principal

amount of $29,537.44, plus $8,357.88 in accrued interest as of March 17, 2020, and $47,325.12

for reimbursement of interest credits and fees assessed of $19,641.70, for a total unpaid balance

due of $104,862.14 as of March 17, 2020, with interest accruing at the daily rate of $10.353 from

March 17, 2020, until the date of entry of judgment, and interest thereafter according to law, plus

any additional costs, disbursements and expenses advanced by the United States;

       b.        That the United States be adjudged a lien on the Property, prior and superior to

any and all other liens, claims, interests and demands, except liens for unpaid real estate ad

valorem taxes;

       c.        That the United States' lien be enforced and the Property be sold in accordance

with 28 U.S.C. §§ 2001-2003 subject to easements, restrictions and stipulations of record, but


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free and clear of all other liens and encumbrances except liens for any unpaid ad valorem real

property taxes;

        d.        That the proceeds from the sale be applied first to the costs of this action, second

to any ad valorem real property taxes, if any, third to the satisfaction of the debt, interest, costs

and fees due the United States, with the balance remaining to be distributed to the parties as their

liens or interests may appear;

        e.        That the Property be adjudged indivisible and be sold as a whole; and

        f.        That the United States receive any and all other lawful relief to which it may be

entitled.

                                                UNITED STATES OF AMERICA

                                                RUSSELL M. COLEMAN
                                                United States Attorney

                                                s/ William F. Campbell
                                                William F. Campbell
                                                Katherine A. Bell
                                                Assistant United States Attorneys
                                                717 West Broadway
                                                Louisville, Kentucky 40202
                                                Phone: 502/582-5911
                                                Fax: 502/625-7110
                                                bill.campbell@usdoj.gov
                                                Katherine.bell@usdoj.gov




                                                   7
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2JS 44 (Rev. 11/04)                                                          CIVIL COVER SHEET                                        1:20-cv-129-GNS
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provided
by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of initiating
the civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

I. (a)      PLAINTIFFS                                                                                       DEFENDANTS
            UNITED STATES OF AMERICA                                                                            WALLACE F. LYNN, ET AL.

    (b) County of Residence of First Listed Plaintiff                                                        County of Residence of First Listed Defendant             MONROE
                               (EXCEPT IN U.S. PLAINTIFF CASES)                                                                           (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                     NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE
                                                                                                                            LAND INVOLVED.

    (c) Attorney’s (Firm Name, Address, and Telephone Number)                                                 Attorneys (If Known)




II. BASIS OF JURISDICTION                           (Place an “X” in One Box Only)                III. CITIZENSHIP OF PRINCIPAL PARTIES(Place an “X” in One Box for Plaintiff
✔1
u        U.S. Government                 u 3 Federal Question
                                                                                                          (For Diversity Cases Only)
                                                                                                                                    PTF     DEF
                                                                                                                                                                         and One Box for Defendant)
                                                                                                                                                                                        PTF      DEF
           Plaintiff                              (U.S. Government Not a Party)                      Citizen of This State          u 1     u 1     Incorporated or Principal Place      u 4 u4
                                                                                                                                                    of Business In This State

u2       U.S. Government                 u 4 Diversity                                               Citizen of Another State      u 2       u 2    Incorporated and Principal Place     u 5      u 5
           Defendant                                                                                                                                   of Business In Another State
                                                  (Indicate Citizenship of Parties in Item III)
                                                                                                     Citizen or Subject of a       u 3       u 3    Foreign Nation                       u 6      u 6
                                                                                                       Foreign Country
IV. NATURE OF SUIT                   (Place an “X” in One Box Only)
          CONTRACT                                           TORTS                                   FORFEITURE/PENALTY                       BANKRUPTCY                      OTHER STATUTES
u   110 Insurance                        PERSONAL INJURY                  PERSONAL INJURY            u 610 Agriculture                u 422 Appeal 28 USC 158          u   400 State Reapportionment
u   120 Marine                       u    310 Airplane                 u 362 Personal Injury -       u 620 Other Food & Drug          u 423 Withdrawal                 u   410 Antitrust
u   130 Miller Act                   u    315 Airplane Product              Med. Malpractice         u 625 Drug Related Seizure              28 USC 157                u   430 Banks and Banking
u   140 Negotiable Instrument                Liability                 u 365 Personal Injury -              of Property 21 USC 881                                     u   450 Commerce
u   150 Recovery of Overpayment      u    320 Assault, Libel &              Product Liability        u   630 Liquor Laws                   PROPERTY RIGHTS             u   460 Deportation
       & Enforcement of Judgment             Slander                   u 368 Asbestos Personal       u   640 R.R. & Truck             u 820 Copyrights                 u   470 Racketeer Influenced and
u   151 Medicare Act                 u    330 Federal Employers’            Injury Product           u   650 Airline Regs.            u 830 Patent                            Corrupt Organizations
u   152 Recovery of Defaulted                Liability                      Liability                u   660 Occupational             u 840 Trademark                  u   480 Consumer Credit
       Student Loans                 u    340 Marine                    PERSONAL PROPERTY                   Safety/Health                                              u   490 Cable/Sat TV
       (Excl. Veterans)              u    345 Marine Product           u 370 Other Fraud             u   690 Other                                                     u   810 Selective Service
u   153 Recovery of Overpayment              Liability                 u 371 Truth in Lending                    LABOR                  SOCIAL SECURITY                u   850 Securities/Commodities/
        of Veteran’s Benefits        u    350 Motor Vehicle            u 380 Other Personal          u   710 Fair Labor Standards     u 861 HIA (1395ff)                      Exchange
u   160 Stockholders’ Suits          u    355 Motor Vehicle                 Property Damage                 Act                       u 862 Black Lung (923)           u   875 Customer Challenge
u   190 Other Contract                       Product Liability         u 385 Property Damage         u   720 Labor/Mgmt. Relations    u 863 DIWC/DIWW (405(g))                12 USC 3410
u   195 Contract Product Liability   u    360 Other Personal                Product Liability        u   730 Labor/Mgmt.Reporting     u 864 SSID Title XVI             u   890 Other Statutory Actions
u   196 Franchise                            Injury                                                         & Disclosure Act          u 865 RSI (405(g))               u   891 Agricultural Acts
      REAL PROPERTY                        CIVIL RIGHTS                 PRISONER PETITIONS           u   740 Railway Labor Act          FEDERAL TAX SUITS              u   892 Economic Stabilization Act
u                                    u                                 u 510 Motions to Vacate       u                                u 870 Taxes (U.S. Plaintiff      u
✔
    210 Land Condemnation                 441 Voting                                                     790 Other Labor Litigation                                        893 Environmental Matters
u   220 Foreclosure                  u    442 Employment                      Sentence               u   791 Empl. Ret. Inc.               or Defendant)               u   894 Energy Allocation Act
u   230 Rent Lease & Ejectment       u    443 Housing/                     Habeas Corpus:                   Security Act              u 871 IRS—Third Party            u   895 Freedom of Information
u   240 Torts to Land                        Accommodations            u   530 General                                                     26 USC 7609                        Act
u   245 Tort Product Liability       u    444 Welfare                  u   535 Death Penalty                                                                           u   900Appeal of Fee Determination
u   290 All Other Real Property      u    445 Amer. w/Disabilities -   u   540 Mandamus & Other                                                                               Under Equal Access
                                             Employment                u   550 Civil Rights                                                                                   to Justice
                                     u    446 Amer. w/Disabilities -   u   555 Prison Condition                                                                        u   950 Constitutionality of
                                             Other                                                                                                                            State Statutes
                                     u    440 Other Civil Rights

V. ORIGIN                   (Place an “X” in One Box Only)                                                                                                                             Appeal to District
✔1
u        Original        u 2    Removed from          u 3 Remanded from             u 4 Reinstated or u 5 Transferred          from
                                                                                                                  another district    u 6 Multidistrict                      u 7       Judge from
                                                                                                                                                                                       Magistrate
         Proceeding             State Court                    Appellate Court              Reopened              (specify)                  Litigation                                Judgment
                                        Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                            28 U.S.C. SECTION 1345
VI. CAUSE OF ACTION                         Brief description of cause:
                                            RURAL HOUSING SERVICE (RHS) f/k/a FARMERS HOME ADMINISTRATION (FmHA) FEDERAL FORECLOSURE
VII. REQUESTED IN                           u    CHECK IF THIS IS A CLASS ACTION                         DEMAND $                                 CHECK YES only if demanded in complaint:
     COMPLAINT:                                  UNDER F.R.C.P. 23                                       $104,862.14                              JURY DEMAND:         u Yes     u✔No
VIII. RELATED CASE(S)
                                               (See instructions):
      IF ANY                                                           JUDGE                                                               DOCKET NUMBER

DATE                                                                       SIGNATURE OF ATTORNEY OF RECORD

7/29/2020                                                                    s/ William F. Campbell
FOR OFFICE USE ONLY

    RECEIPT #                    AMOUNT                                      APPLYING IFP                                  JUDGE                           MAG. JUDGE
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                                                                       GOVERNMENT
                                                                         EXHIBIT
                                                                             A
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                                                                      GOVERNMENT
                                                                        EXHIBIT
                                                                          B
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                                                                         GOVERNMENT
                                                                           EXHIBIT
                                                                              C
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                                                                         GOVERNMENT
                                                                           EXHIBIT
                                                                              D
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                                                                      &
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                                                                      GOVERNMENT
                                                                        EXHIBIT
                                                                          F
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                                                                       GOVERNMENT
                                                                         EXHIBIT
                                                                              G
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                                                                      GOVERNMENT
                                                                        EXHIBIT
                                                                          H
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                                                                        GOVERNMENT
                                                                          EXHIBIT
                                                                               I
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                             United States District Court
                     WESTERN                         DISTRICT OF                  KENTUCKY_____________
                                                AT BOWLING GREEN


        United States of America                                 SUMMONS IN A CIVIL CASE

                                                                 CASE NUMBER: 1:20-cv-129-GNS

                        v.


        Wallace F. Lynn, et al.


        TO:     (Name & Address of Defendant)

                WALLACE F. LYNN
                1876 Kate Miller Road
                Mount Herman, KY 42157-8017

        YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF’S ATTORNEY (name & address)


                        William F. Campbell
                        Assistant U.S. Attorney
                        United States Attorney's Office
                        717 West Broadway
                        Louisville, KY 40202


an answer to the complaint which is herewith served upon you, within        twenty-one (21)        days after service of
this summons upon you, exclusive of the day of service. If you fail to do so, judgment by default will be taken against
you for the relief demanded in the complaint. You must also file your answer with the Clerk of this Court within a
reasonable period of time after service.



__________________________________                                       ___________________________________
                                                                            7/30/2020
CLERK                                                                    DATE




_____________________________________
 /s/Jessie W. Mercer
(BY) DEPUTY CLERK
Case 1:20-cv-00129-GNS Document 1-11 Filed 07/29/20 Page 2 of 12 PageID #: 32




                                                 RETURN OF SERVICE

    Service of the Summons and Complaint was made by me 1            Date

    Name of Server (Print)                                           T itle

            Check one box below to indicate method of service



‫܆‬           Served personally upon the defendant. Place where served:
            ______________________________________________________________________________________


‫܆‬           Left copies thereof at the defendant’s dwelling house or usual place of abode with a person of suitable age
and
            discretion then residing therein. Name of person with whom the summons and complaint were left:
            ______________________________________________________________________________________
            ______________________________________________________________________________________


‫܆‬           Returned unexecuted:
            ______________________________________________________________________________________
            ______________________________________________________________________________________
            ______________________________________________________________________________________


‫܆‬           Other (specify):
            ______________________________________________________________________________________
            ______________________________________________________________________________________
            ______________________________________________________________________________________



                                              STATEMENT OF SERVICE FEES

    Trave l N/A                                Se rvice s                                  Total

                                                 DECLARATION OF SERVER

        I declare under penalty of perjury under the laws of the United States of America that the
foregoing information contained in the Return of Service of Service Fees is true and correct.


Executed on           __________________________                         _______________________________________
                      Date                                               Signature of Server




1
            As to who may serve a summons see Rule 4 of the Federal Rules of Civil Procedure
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                             United States District Court
                     WESTERN                         DISTRICT OF                  KENTUCKY_____________
                                                AT BOWLING GREEN


        United States of America                                 SUMMONS IN A CIVIL CASE

                                                                 CASE NUMBER: 1:20-cv-129-GNS

                        v.


        Wallace F. Lynn, et al.


        TO:     (Name & Address of Defendant)

                EMA JEAN LYNN a/k/a EMMA JEAN LYNN
                a/k/a EMA JEAN MCCORMICK and
                EMMA L. VINSON
                41 Maranatha Road
                Tompkinsville, KY 42167-8469

        YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF’S ATTORNEY (name & address)


                        William F. Campbell
                        Assistant U.S. Attorney
                        United States Attorney's Office
                        717 West Broadway
                        Louisville, KY 40202


an answer to the complaint which is herewith served upon you, within        twenty-one (21)        days after service of
this summons upon you, exclusive of the day of service. If you fail to do so, judgment by default will be taken against
you for the relief demanded in the complaint. You must also file your answer with the Clerk of this Court within a
reasonable period of time after service.



__________________________________                                       ___________________________________
                                                                           7/30/2020
CLERK                                                                    DATE




_____________________________________
 /s/Jessie W. Mercer
(BY) DEPUTY CLERK
Case 1:20-cv-00129-GNS Document 1-11 Filed 07/29/20 Page 4 of 12 PageID #: 34




                                                 RETURN OF SERVICE

    Service of the Summons and Complaint was made by me 1            Date

    Name of Server (Print)                                           T itle

            Check one box below to indicate method of service



‫܆‬           Served personally upon the defendant. Place where served:
            ______________________________________________________________________________________


‫܆‬           Left copies thereof at the defendant’s dwelling house or usual place of abode with a person of suitable age
and
            discretion then residing therein. Name of person with whom the summons and complaint were left:
            ______________________________________________________________________________________
            ______________________________________________________________________________________


‫܆‬           Returned unexecuted:
            ______________________________________________________________________________________
            ______________________________________________________________________________________
            ______________________________________________________________________________________


‫܆‬           Other (specify):
            ______________________________________________________________________________________
            ______________________________________________________________________________________
            ______________________________________________________________________________________



                                              STATEMENT OF SERVICE FEES

    Trave l N/A                                Se rvice s                                  Total

                                                 DECLARATION OF SERVER

        I declare under penalty of perjury under the laws of the United States of America that the
foregoing information contained in the Return of Service of Service Fees is true and correct.


Executed on           __________________________                         _______________________________________
                      Date                                               Signature of Server




1
            As to who may serve a summons see Rule 4 of the Federal Rules of Civil Procedure
        Case 1:20-cv-00129-GNS Document 1-11 Filed 07/29/20 Page 5 of 12 PageID #: 35




                             United States District Court
                     WESTERN                         DISTRICT OF                  KENTUCKY_____________
                                                AT BOWLING GREEN


        United States of America                                 SUMMONS IN A CIVIL CASE

                                                                 CASE NUMBER: 1:20-cv-129-GNS

                        v.


        Wallace F. Lynn, et al.


        TO:     (Name & Address of Defendant)

                LEGAL RECOVERIES, INC.
                Serve: C. F. Haunz, Registered Agent
                8512 Brookside East
                Pewee Valley, KY 40056

        YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF’S ATTORNEY (name & address)


                        William F. Campbell
                        Assistant U.S. Attorney
                        United States Attorney's Office
                        717 West Broadway
                        Louisville, KY 40202


an answer to the complaint which is herewith served upon you, within        twenty-one (21)        days after service of
this summons upon you, exclusive of the day of service. If you fail to do so, judgment by default will be taken against
you for the relief demanded in the complaint. You must also file your answer with the Clerk of this Court within a
reasonable period of time after service.



__________________________________                                       ___________________________________
                                                                           7/30/2020
CLERK                                                                    DATE




_____________________________________
 /s/Jessie W. Mercer
(BY) DEPUTY CLERK
Case 1:20-cv-00129-GNS Document 1-11 Filed 07/29/20 Page 6 of 12 PageID #: 36




                                                 RETURN OF SERVICE

    Service of the Summons and Complaint was made by me 1            Date

    Name of Server (Print)                                           T itle

            Check one box below to indicate method of service



‫܆‬           Served personally upon the defendant. Place where served:
            ______________________________________________________________________________________


‫܆‬           Left copies thereof at the defendant’s dwelling house or usual place of abode with a person of suitable age
and
            discretion then residing therein. Name of person with whom the summons and complaint were left:
            ______________________________________________________________________________________
            ______________________________________________________________________________________


‫܆‬           Returned unexecuted:
            ______________________________________________________________________________________
            ______________________________________________________________________________________
            ______________________________________________________________________________________


‫܆‬           Other (specify):
            ______________________________________________________________________________________
            ______________________________________________________________________________________
            ______________________________________________________________________________________



                                              STATEMENT OF SERVICE FEES

    Trave l N/A                                Se rvice s                                  Total

                                                 DECLARATION OF SERVER

        I declare under penalty of perjury under the laws of the United States of America that the
foregoing information contained in the Return of Service of Service Fees is true and correct.


Executed on           __________________________                         _______________________________________
                      Date                                               Signature of Server




1
            As to who may serve a summons see Rule 4 of the Federal Rules of Civil Procedure
        Case 1:20-cv-00129-GNS Document 1-11 Filed 07/29/20 Page 7 of 12 PageID #: 37




                             United States District Court
                     WESTERN                         DISTRICT OF                  KENTUCKY_____________
                                                AT BOWLING GREEN


        United States of America                                 SUMMONS IN A CIVIL CASE

                                                                 CASE NUMBER: 1:20-cv-129-GNS

                        v.


        Wallace F. Lynn, et al.


        TO:     (Name & Address of Defendant)

                LEGAL RECOVERIES, INC.
                Serve: Agent Authorized to Accept Service
                13019 Wellington Way
                Goshen, KY 40026-8440

        YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF’S ATTORNEY (name & address)


                        William F. Campbell
                        Assistant U.S. Attorney
                        United States Attorney's Office
                        717 West Broadway
                        Louisville, KY 40202


an answer to the complaint which is herewith served upon you, within        twenty-one (21)        days after service of
this summons upon you, exclusive of the day of service. If you fail to do so, judgment by default will be taken against
you for the relief demanded in the complaint. You must also file your answer with the Clerk of this Court within a
reasonable period of time after service.



__________________________________                                       ___________________________________
                                                                            7/30/2020
CLERK                                                                    DATE




_____________________________________
 /s/Jessie W. Mercer
(BY) DEPUTY CLERK
Case 1:20-cv-00129-GNS Document 1-11 Filed 07/29/20 Page 8 of 12 PageID #: 38




                                                 RETURN OF SERVICE

    Service of the Summons and Complaint was made by me 1            Date

    Name of Server (Print)                                           T itle

            Check one box below to indicate method of service



‫܆‬           Served personally upon the defendant. Place where served:
            ______________________________________________________________________________________


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            discretion then residing therein. Name of person with whom the summons and complaint were left:
            ______________________________________________________________________________________
            ______________________________________________________________________________________


‫܆‬           Returned unexecuted:
            ______________________________________________________________________________________
            ______________________________________________________________________________________
            ______________________________________________________________________________________


‫܆‬           Other (specify):
            ______________________________________________________________________________________
            ______________________________________________________________________________________
            ______________________________________________________________________________________



                                              STATEMENT OF SERVICE FEES

    Trave l N/A                                Se rvice s                                  Total

                                                 DECLARATION OF SERVER

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foregoing information contained in the Return of Service of Service Fees is true and correct.


Executed on           __________________________                         _______________________________________
                      Date                                               Signature of Server




1
            As to who may serve a summons see Rule 4 of the Federal Rules of Civil Procedure
        Case 1:20-cv-00129-GNS Document 1-11 Filed 07/29/20 Page 9 of 12 PageID #: 39




                             United States District Court
                     WESTERN                         DISTRICT OF                  KENTUCKY_____________
                                                AT BOWLING GREEN


        United States of America                                 SUMMONS IN A CIVIL CASE

                                                                 CASE NUMBER: 1:20-cv-129-GNS

                        v.


        Wallace F. Lynn, et al.


        TO:     (Name & Address of Defendant)

                MIDLAND FUNDING LLC
                Serve: Fenton & McGarvey Law Firm, PSC
                Attorney for Judgment Creditor
                2401 Stanley Gault Parkway
                Louisville, KY 40223

        YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF’S ATTORNEY (name & address)


                        William F. Campbell
                        Assistant U.S. Attorney
                        United States Attorney's Office
                        717 West Broadway
                        Louisville, KY 40202


an answer to the complaint which is herewith served upon you, within        twenty-one (21)        days after service of
this summons upon you, exclusive of the day of service. If you fail to do so, judgment by default will be taken against
you for the relief demanded in the complaint. You must also file your answer with the Clerk of this Court within a
reasonable period of time after service.



__________________________________                                       ___________________________________
                                                                            7/30/2020
CLERK                                                                    DATE




_____________________________________
 /s/Jessie W. Mercer
(BY) DEPUTY CLERK
Case 1:20-cv-00129-GNS Document 1-11 Filed 07/29/20 Page 10 of 12 PageID #: 40




                                                 RETURN OF SERVICE

    Service of the Summons and Complaint was made by me 1            Date

    Name of Server (Print)                                           T itle

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‫܆‬           Served personally upon the defendant. Place where served:
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            discretion then residing therein. Name of person with whom the summons and complaint were left:
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            ______________________________________________________________________________________


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            ______________________________________________________________________________________
            ______________________________________________________________________________________
            ______________________________________________________________________________________


‫܆‬           Other (specify):
            ______________________________________________________________________________________
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            ______________________________________________________________________________________



                                              STATEMENT OF SERVICE FEES

    Trave l N/A                                Se rvice s                                  Total

                                                 DECLARATION OF SERVER

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Executed on           __________________________                         _______________________________________
                      Date                                               Signature of Server




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            As to who may serve a summons see Rule 4 of the Federal Rules of Civil Procedure
        Case 1:20-cv-00129-GNS Document 1-11 Filed 07/29/20 Page 11 of 12 PageID #: 41




                             United States District Court
                     WESTERN                         DISTRICT OF                  KENTUCKY_____________
                                                AT BOWLING GREEN


        United States of America                                 SUMMONS IN A CIVIL CASE

                                                                 CASE NUMBER: 1:20-cv-129-GNS

                        v.


        Wallace F. Lynn, et al.


        TO:     (Name & Address of Defendant)

                MIDLAND FUNDING LLC
                Registered Agent
                C/O Canon Business Process Services
                312 South 4th Street
                Suite 724
                Louisville, KY 40202

        YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF’S ATTORNEY (name & address)


                        William F. Campbell
                        Assistant U.S. Attorney
                        United States Attorney's Office
                        717 West Broadway
                        Louisville, KY 40202


an answer to the complaint which is herewith served upon you, within        twenty-one (21)        days after service of
this summons upon you, exclusive of the day of service. If you fail to do so, judgment by default will be taken against
you for the relief demanded in the complaint. You must also file your answer with the Clerk of this Court within a
reasonable period of time after service.



__________________________________                                       ___________________________________
                                                                            7/30/2020
CLERK                                                                    DATE




_____________________________________
 /s/Jessie W. Mercer
(BY) DEPUTY CLERK
Case 1:20-cv-00129-GNS Document 1-11 Filed 07/29/20 Page 12 of 12 PageID #: 42




                                                 RETURN OF SERVICE

    Service of the Summons and Complaint was made by me 1            Date

    Name of Server (Print)                                           T itle

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            discretion then residing therein. Name of person with whom the summons and complaint were left:
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            ______________________________________________________________________________________


‫܆‬           Returned unexecuted:
            ______________________________________________________________________________________
            ______________________________________________________________________________________
            ______________________________________________________________________________________


‫܆‬           Other (specify):
            ______________________________________________________________________________________
            ______________________________________________________________________________________
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                                              STATEMENT OF SERVICE FEES

    Trave l N/A                                Se rvice s                                  Total

                                                 DECLARATION OF SERVER

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Executed on           __________________________                         _______________________________________
                      Date                                               Signature of Server




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            As to who may serve a summons see Rule 4 of the Federal Rules of Civil Procedure
